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                            U.S. BANKRUPTCY COURT
                       EASTERN DISTRICT OF PENNSYLVANIA


  IN RE:                                                     Case No.: 20-10070 elf
  Roderick T Meer                                  :
                                                             Chapter 13
                                                   :
                                Debtor.            :
                                                   :
                                                   :
                          MOTION TO WITHDRAWAL DEBTOR



To the Honorable Eric L Frank, Bankruptcy Judge:



       Petitioner, Roderick T Meer, through his attorney, George R. Tadross, Esq., respectfully

represents:

       (1)     Petitioner is Roderick T Meer, an adult individual residing at 511 Catharine

Street, Philadelphia, PA 19147, who filed a Chapter 13 Bankruptcy to save his home from

Foreclosure.

       (2)     Petitioner filed a voluntary Chapter 13 Bankruptcy petition pursuant to section

301 of Title 11, United States Code, on January 6, 2020.

       (3)     Petitioner is unable to maintain the plan payments due to COVID19 and the

furlough of his job.
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       WHEREFORE, Petitioner respectfully requests that this Honorable Court allow him to

withdraw from the Chapter 13 Bankruptcy.

Dated: June 22, 2020

                                                 /s/George R Tadross
                                                 George R Tadross, Esquire
                                                 128 Chestnut Street, Suite 204
                                                 Philadelphia, PA 19106
                                                 215-500-5000 (phone)
                                                 267-885-2377 (fax)
                                                 Attorney for Debtor
